Case 1:20-cv-03747-NRN Document 128 Filed 07/09/21 USDC Colorado Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-03747-NRN

KEVIN O’ROURKE,
NATHANIEL L. CARTER,
LORI CUTUNILLI,
LARRY D. COOK,
ALVIN CRISWELL,
KESHA CRENSHAW,
NEIL YARBROUGH, and
AMIE TRAPP,

Plaintiffs,

v.

DOMINION VOTING SYSTEMS INC., a Delaware corporation,
FACEBOOK, INC., a Delaware corporation,
CENTER FOR TECH AND CIVIC LIFE, an Illinois non-profit organization,
MARK E. ZUCKERBERG, individually,
PRISCILLA CHAN, individually,
BRIAN KEMP, individually,
BRAD RAFFENSPERGER, individually,
GRETCHEN WHITMER, individually,
JOCELYN BENSON, individually,
TOM WOLF, individually,
KATHY BOOCKVAR, individually,
TONY EVERS, individually,
ANN S. JACOBS, individually,
MARK L. THOMSEN, individually,
MARGE BOSTELMAN, individually,
JULIE M. GLANCEY,
DEAN KNUDSON, individually,
ROBERT F. SPINDELL, JR, individually, and
DOES 1-10,000,

Defendants.

                                   MINUTE ORDER

Entered by Magistrate Judge N. Reid Neureiter

       This matter is before the Court on review of the docket. It is hereby ORDERED
that the Court will hear argument on all pending motions for sanctions (Dkt. ##98, 101–
Case 1:20-cv-03747-NRN Document 128 Filed 07/09/21 USDC Colorado Page 2 of 2




103, & 109) at the Motion Hearing set for July 16, 2021 at 10:30 a.m. Any outstanding
reply briefs shall be filed before the Motion Hearing.

       It is further ORDERED that counsel who are not appearing in person at the
Motion Hearing shall appear via VTC. Please see Dkt. #88 for VTC instructions.
Although the Court is permitting counsel to appear via video conference, it is the Court’s
preference that counsel appear in person.

Date: July 9, 2021
